Case 2:03-cr-20475-.]DB Document 16 Filed 06/02/05 Page 1 of 2 Page|D 15

IN THE uNlTEo sTATEs DlsTRlcT couRT r=u.Eo er tdi D.f>:
FoR THE wEsTERN olsTRlcT oF TENNESSEE
wEsTERN ol\/lsloN 05 JUl'~l -2 PM h= l'l

 

ROEE’.'HT R. i}`l TBOLiO

uNrrEo sTATEs ol= AMERch, §§L[§i"‘§§;= §§ §‘§§P‘§ié

P|aintiff,
VS.
CR. NO. 03-20475-8
WiLL|A|\/l VlSOR,
Defendant.

 

ORDER ON CONTINUANCE AND SPEC|FY|NG PER|OD OF EXCLUDABLE DELAY
AND SETT|NG

 

This cause came on for a report date on May 31 , 2005. At that time, counsel for the
defendant requested a continuance of the June 6, 2005 trial date in order to allow for
additional preparation in the case.

The Court granted the request and reset the trial date to August 1, 2005 with a
report date of Monday, Ju|y 25, 2005, at 9:30 a.m., in Courtroorn 1. 11th Floor of the
Federa| Bui|ding, i\/lemphis, TN.

The period from June 17, 2005 through August12, 2005 is excludable under 18
U.S.C. § 31 61 (h)(8)(B)(iv) because the ends ofjustice served in allowing for additional time
to prepare outweigh the need for a edy trial.

iT |S SO ORDERED this day ne, 2005.

M

. D N|EL BREEN
UN|T D STATES D!STR| T JUDGE

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Notice of Distribution

This notice confirms a copy of the document docketed as number 16 in
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Honorable J. Breen
US DISTRICT COURT

